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                IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA
BRANDON LOGAN, et al.              :                   CIVIL ACTION
                                   :
           v.                      :
                                   :
ALLSTATE PROPERTY & CASUALTY       :                   NO. 25-1207
INSURANCE COMPANY                  :

                                 ORDER


          AND NOW, this 8th day of May, 2025, for the reasons

set forth in the foregoing Memorandum, it is hereby ORDERED that

the motion of defendant Allstate Property and Casualty Insurance

Company “to dismiss plaintiffs’ bad faith claim in the amended

complaint pursuant to Federal Rule 12(b)(6)” (Doc. # 15) is

DENIED.

                                         BY THE COURT:



                                         /s/     Harvey Bartle III
                                                                              J.
